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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                         §
                                                  §
                   Plaintiff,                     §                  SA-17-CR-00386-FB
                                                  §                  SA-20-CV-00732-FB
vs.                                               §
                                                  §
(2) TREMAL ROWE,                                  §
                                                  §
                   Defendant.                     §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

To the Honorable United States District Judge Fred Biery:

        This Report and Recommendation concerns Petitioner Tremal Rowe’s Memorandum in

Support of Limited 28 U.S.C. § 2255 Relief and Request for Out of Time Appeal in Lieu of §

2255 Hearing at this Time [#370]. The District Court referred Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence Under 28 U.S.C. § 2255 [#347] on October 22, 2020, for an

evidentiary hearing on whether Rowe’s trial attorney David Dilley rendered ineffective

assistance of counsel for failing to consult with him about filing an appeal and for failing to file a

notice of appeal as allegedly requested.

        The hearing was originally set for January 13, 2021. There have been multiple requests

by Petitioner’s counsel to continue the hearing, due in part to counsel contracting COVID-19 and

the difficulties associated with conferring with her client during the pandemic. A hearing on the

motion is currently set for June 11, 2021, but at the request of Petitioner will again be continued

to a later date.

        By his motion, Petitioner asks the Court to grant him a new deadline to file a notice of

appeal in lieu of holding the evidentiary hearing. Counsel for Petitioner argues that the appeal


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would provide a vehicle to argue the misapplication of the sentencing guidelines prior to the

same complaints being presented in any hearing on the effectiveness of counsel. Counsel further

argues that she has not yet gained access to the Presentence Report (“PSR”) or the unredacted

indictment in this case, both of which she believes are necessary to fully brief Petitioner’s issue.

The Court should deny the motion.

                                             I. Analysis

        On July 8, 2019, the District Court sentenced Petitioner to 150 months’ imprisonment,

five years of supervised release, and a $100 special assessment [#299]. Petitioner did not file a

direct appeal. Petitioner, acting pro se, timely filed his § 2255 petition, alleging, among other

things, that his trial attorney was ineffective because he deprived him of his right to appeal. The

District Court expressly referred the petition for a hearing on the issue of trial counsel’s

ineffectiveness vis-à-vis his failure to file an appeal due to factual issues related to trial counsel’s

contact with Petitioner after sentencing—the time period during which he could have consulted

regarding a direct appeal.

        The Government does not consent to the request for an out of time appeal; nor is such a

remedy appropriate. The only issue to be addressed at the evidentiary hearing is whether

Petitioner’s trial counsel was ineffective in failing to consult with him about filing a direct appeal

or failing to file a direct appeal if actually requested. The standard governing this issue does not

focus on whether the hypothetical appeal would have ultimately had merit. See Roe v. Flores-

Ortega, 528 U.S. 470, 486 (2000).        The inquiry is whether a rational defendant would have

wanted to appeal or whether the defendant reasonably demonstrated to counsel that he was

interested in appealing. Id. at 480. Petitioner must also demonstrate that, even if this standard is

satisfied, that he was actually prejudiced by the failure to consult or to file the appeal. Id. at 484.



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The purpose of the evidentiary hearing is to make a record on the facts associated with the

decision of Petitioner’s trial counsel not to file a direct appeal. Petitioner is not entitled to an

out-of-time appeal until he carries his burden of demonstrating that he has met this standard and

is granted habeas relief.

       Furthermore, the Government’s response to the motion indicates that it has provided

Petitioner’s counsel with the PSR, although the Government questions whether this document is

relevant to the limited issues referred for evidentiary hearing. As noted by the Government, the

redacted indictment is available on CM-ECF, and Petitioner’s counsel has not provided any

explanation to the Court as to why the unredacted version of this document is needed to prepare

for the hearing.

       Having considered Petitioner’s motion, the response of the Government, and the record in

this case, the undersigned recommends that Petitioner Tremal Rowe’s Memorandum in Support

of Limited 28 U.S.C. § 2255 Relief and Request for Out of Time Appeal in Lieu of § 2255

Hearing at this Time [#370] be DENIED.

              II. Instructions for Service and Notice of Right to Object/Appeal

       The United States District Clerk shall serve a copy of this report and recommendation on

all parties by either (1) electronic transmittal to all parties represented by attorneys registered as

a “filing user” with the clerk of court, or (2) by mailing a copy to those not registered by certified

mail, return receipt requested. Written objections to this report and recommendation must be

filed within fourteen (14) days after being served with a copy of same, unless this time period is

modified by the district court. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The party shall file

the objections with the Clerk of Court and serve the objections on all other parties. A party filing

objections must specifically identify those findings, conclusions or recommendations to which



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objections are being made and the basis for such objections; the district court need not consider

frivolous, conclusive or general objections. A party’s failure to file written objections to the

proposed findings, conclusions and recommendations contained in this report shall bar the party

from a de novo determination by the district court. Thomas v. Arn, 474 U.S. 140, 149–52 (1985);

Acuña v. Brown & Root, Inc., 200 F.3d 335, 340 (5th Cir. 2000). Additionally, failure to file

timely written objections to the proposed findings, conclusions and recommendations contained

in this report and recommendation shall bar the aggrieved party, except upon grounds of plain

error, from attacking on appeal the un-objected-to proposed factual findings and legal

conclusions accepted by the district court. Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415,

1428–29 (5th Cir. 1996) (en banc).

       SIGNED this 7th day of June, 2021.




                                     ELIZABETH S. ("BETSY") CHESTNEY
                                     UNITED STATES MAGISTRATE JUDGE




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